                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



SHAUNA GALEA, individually and
on behalf of all others similarly situated,

                Plaintiff,
                                                            CASE NO. 1:19-CV-1093
v.
                                                            HON. ROBERT J. JONKER
MIDLAND CREDIT MANAGEMENT, INC.,

            Defendant
_______________________________________/

                              SHOW CAUSE ORDER RE VENUE

         This is a newly filed class action complaint under the FDCPA. The only named Plaintiff

resides, according to the Complaint, in Wayne County, Michigan. Wayne County is in the Eastern

District of Michigan, not the Western District of Michigan. There is no other obvious connection

to this District. Accordingly, Plaintiff is ordered to show cause not later than January 27, 2020,

why this matter should not be transferred to the Eastern District of Michigan under 28 U.S.C.

§§ 1404 or 1406.




Dated:      December 31, 2019                 /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
